        Case 1:20-cv-05018-ELR Document 23 Filed 12/15/20 Page 1 of 2




         IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

GEORGIA REPUBLICAN PARTY,                 *
INC., et al.,                             *
                                          *
             Plaintiffs,                  *
                                          *
       v.                                 *         1:20-CV-05018-ELR
                                          *
BRAD RAFFENSPERGER, in his                *
official capacity as the Secretary of     *
State of Georgia, et al.,                 *
                                          *
             Defendants,                  *
                                          *
DEMOCRATIC PARTY OF                       *
GEORGIA and DSCC,                         *
                                          *
              Intervenor-Defendants.      *
                                          *
                                     _________

                                   ORDER
                                   _________

      On December 11, 2020, the Court scheduled a hearing on Plaintiffs’

“Emergency Motion for Temporary Restraining Order and Preliminary Injunction”

[Doc. 2] for Monday, December 21, 2020 at 2:00 P.M. [Doc. 11]. At the request of

the Parties, the Court rescheduled the hearing for Thursday, December 17, 2020, at

9:30 A.M. (to take place via Zoom). [Doc. 17]. Subsequently, the Parties again

requested a new hearing time. Thus, the Court hereby RESCHEDULES the hearing

on Plaintiffs’ motion for Thursday, December 17, 2020, at 3:00 P.M. The hearing
         Case 1:20-cv-05018-ELR Document 23 Filed 12/15/20 Page 2 of 2




will be conducted via Zoom. The undersigned’s Courtroom Deputy, Mrs. Michelle

Beck, will provide the login information for the hearing to the Parties and counsel.1

The Court will only hear oral argument from counsel at the hearing. As the

Court directed in its previous Order, the Parties shall jointly submit a proposed

schedule on Tuesday, December 15, 2020, setting forth how much time each Party

requests for oral argument. [See id. at 2].

       The briefing schedule set forth in the Court’s previous Order remains the

same: if Defendants and/or Defendant-Intervenors intend to file a response to

Plaintiffs’ motion, they must do so by 12:00 P.M. on Wednesday, December 16,

2020. [Id.] If Plaintiffs intend to file a reply, they must do so by 10:00 P.M. on

Wednesday, December 16, 2020. [Id.]

       The Court DIRECTS the Parties to govern themselves according to the

deadlines set herein.

       SO ORDERED, this 15th day of December, 2020.



                                                    ______________________
                                                    Eleanor L. Ross
                                                    United States District Judge
                                                    Northern District of Georgia




1
  Should the Parties have any questions after receiving the email containing the Zoom information,
they may contact Mrs. Beck at Michelle_Beck@gand.uscourts.gov.

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